Case 2:12-cv-00512-JFB-AKT Document 263 Filed 06/22/18 Page 1 of 20 PageID #: 4407



  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -----------------------------------------------------------------X
  THOMAS M. MOROUGHAN,
                                                                            DECISION
                                     Plaintiff,                            AND ORDER
                   -against-
                                                                       CV 12-512 (JFB) (AKT)

  THE COUNTY OF SUFFOLK, SUFFOLK
  COUNTY POLICE DEPARTMENT,
  SUFFOLK DETECTIVES RONALD TAVARES,
  CHARLES LESER, EUGENE GEISSINGER,
  NICHOLAS FAVATTA, and ALFRED CICCOTTO,
  DETECTIVE/SGT. WILLIAM J. LAMB, SGT.
  JACK SMITHERS, SUFFOLK POLICE OFFICERS
  WILLIAM MEANEY, ENID NIEVES, CHANNON
  ROCCHIO, and JESUS FAYA and SUFFOLK
  JOHN DOES 1-10, THE COUNTY OF NASSAU,
  NASSAU COUNTY POLICE DEPARTMENT,
  SGT. TIMOTHY MARINACI, DEPUTY CHIEF OF
  PATROL JOHN HUNTER, INSPECTOR EDMUND
  HORACE, COMMANDING OFFICER DANIEL
  FLANAGAN, DETECTIVE/SGT. JOHN
  DEMARTINIS, NASSAU POLICE OFFICERS
  ANTHONY D. DILEONARDO, EDWARD BIENZ
  and JOHN DOES 11-20,
                         Defendants.

  -----------------------------------------------------------------X
  A. KATHLEEN TOMLINSON, Magistrate Judge:

  I.      PRELIMINARY STATEMENT

          The history of discovery and extensive motion practice in this case is well-known and

  well-documented and the Court will not repeat that chronology here. Instead, the Court focuses

  on the motion by counsel for defendant Nassau County to re-open discovery at this point in this

  case. See DE 246.

          At the February 13, 2018 Motion Hearing/Status Conference, Plaintiff’s counsel advised

  the Court that he had been served by Nassau County’s counsel just the day before with a
Case 2:12-cv-00512-JFB-AKT Document 263 Filed 06/22/18 Page 2 of 20 PageID #: 4408



  purported demand for production of documents directed to the Internal Affairs Unit (“IAU”) of

  the Suffolk County Police Department. See February 13,2018 Civil Conference Minute Order

  [DE 241]. Plaintiff’s counsel also stated that he was made aware that Nassau County’s counsel

  was attempting to serve deposition notices for two members of the Suffolk County Board of

  Review. Id. Plaintiff objected on both counts. The Court informed Nassau County’s counsel

  that discovery was closed and had been for some time. Consequently, if counsel intended to

  pursue this issue, the Court informed him that he would have to file a motion seeking to re-open

  discovery and meet the threshold criteria for establishing good cause as to why such relief should

  be granted at this juncture.

  II.    THE PARTIES’ CONTENTIONS

         Counsel for Nassau County, Christopher Clarke, Esq., asserts that the County should be

  permitted the additional discovery sought here because the “discovery demand and deposition

  subpoena mirror plaintiff’s subpoena served upon Nassau IAB Detective Distler which resulted

  in Nassau’s motion to quash filed on June 15, 2015.” DE 246.       In 2015, Nassau County argued

  that the IAU materials sought by the plaintiff were privileged and not subject to disclosure. Id.

  According to Attorney Clarke, based upon the February 5, 2018 decision issued by this Court

  denying Nassau’s motion to quash and directing that Detective Distler be presented for

  deposition, he proceeded to (1) serve demands on Suffolk County for its Internal Affairs Unit

  documents relating to this case and (2) serve a subpoena to depose Suffolk’s lead investigator.

  Id. Attorney Clarke maintains that discovery is ongoing and not closed and that “there has been

  no delay from Nassau in seeking this discovery . . . and no realistic concern of any delay in this

  case.” Id.


                                                   2
Case 2:12-cv-00512-JFB-AKT Document 263 Filed 06/22/18 Page 3 of 20 PageID #: 4409



         Plaintiff’s counsel opposes the motion, pointing out that this case was commenced some

  six years ago and that after “years of discovery, the day before the parties appeared before Judge

  Joseph F. Bianco on February 13, 2018 to have a summary judgment motion schedule set,

  Nassau advised that it intended to depose an investigator from the Suffolk IAB. . .” DE 250.

  Counsel further argues that defendant Nassau County received back in September 2015 the

  audio-recordings of the Suffolk IAU interviews which it is now purportedly seeking in its first

  document request. Plaintiff’s counsel adds that “[i]n fact, these were produced before Mr.

  Clarke’s office started representing Nassau, and plaintiff utilized transcripts of these recordings

  during numerous depositions.” Id. (emphasis in original).

         Ultimately, plaintiff’s counsel argues that Nassau County had ample opportunity to

  pursue the evidence it now seeks during the multi-year course of discovery. Plaintiff maintains

  that Nassau County has not shown the requisite good cause to justify the re-opening of discovery

  at this late date and has not met the six-part test articulated by this Court in Pharmacy Inc. v. Am.

  Pharm. Partners, Inc., CV 05-776, 2008 WL 4415263, at *3 (E.D.N.Y. Sept. 24, 2008).

  III.   APPLICABLE LEGAL STANDARD

         “‘A party seeking to reopen discovery bears the burden of establishing good cause and

  discovery should not be extended when there was ample opportunity to pursue the evidence

  during discovery.’” Leong v. 127 Glen Head Inc., CV 13-5528, 2016 WL 845325, at *3

  (E.D.N.Y. Mar. 2, 2016) (quoting Thieriot v. Jaspan Schlesinger Hoffman LLP, No. 07-CV-

  5315, 2010 WL 4038765 (E.D.N.Y. Sept. 30, 2010)); see Burlington Coat Factory Warehouse

  Corp. v. Esprit De Corp., 769 F.2d 919, 927 (2d Cir. 1985) (denying plaintiff’s request to re-

  open discovery when plaintiff had “ample time in which to pursue the discovery that it now


                                                    3
Case 2:12-cv-00512-JFB-AKT Document 263 Filed 06/22/18 Page 4 of 20 PageID #: 4410



  claims is essential”).

          The decision whether to reopen discovery is within a district court’s discretion. Krawec

  v. Kiewit Constructors Inc., No. 11-CV-123, 2013 WL 1104414, at *8 (S.D.N.Y. Mar. 1, 2013);

  see Wingates, LLC v. Commonwealth Ins. Co. of Am., No. 14- CV-2119, 2015 WL 5692303, at

  *3 (2d Cir. Sept. 29, 2015) (summary order) (finding no abuse of discretion in the district court’s

  “refus[al] to allow [the plaintiffs] to reopen discovery for the purposes of disclosing an expert

  witness pursuant to Federal Rule of Civil Procedure 26(a)(2)”); see generally Wills v. Amerada

  Hess Corp., 379 F.3d 32, 41 (2d Cir. 2004) (stating that a district court has “broad discretion to

  direct and manage the pre-trial discovery process.”). “As a general rule, discovery should only

  be re-opened for good cause, depending on the diligence of the moving party.” Krawec, 2013

  WL 1104414, at *8 (citing Grochowski v. Phoenix Constr., 318 F.3d 80, 86 (2d Cir. 2003)); see,

  e.g., Bakalar v. Vavra, 851 F. Supp. 2d 489, 493 (S.D.N.Y. 2011) (“In deciding whether to

  reopen discovery, courts consider whether good cause exists.”) (citing Gray v. Town of Darien,

  927 F.2d 69 (2d Cir. 1991)); see Marshall v. Starbucks Corp., No. 11-CV-02521, 2013 WL

  123763, at *2 (S.D.N.Y. Jan. 8, 2013) (same).

          In analyzing a request to re-open discovery, courts apply the following six-part test:

                  1) whether trial is imminent, 2) whether the request is opposed, 3)
                  whether the non-moving party would be prejudiced, 4) whether the
                  moving party was diligent in obtaining discovery within the
                  guidelines established by the court, 5) the foreseeability of the need
                  for additional discovery in light of the time allowed for discovery by
                  the district court, and 6) the likelihood that the discovery will lead to
                  relevant evidence.




                                                     4
Case 2:12-cv-00512-JFB-AKT Document 263 Filed 06/22/18 Page 5 of 20 PageID #: 4411



  Pharmacy, Inc., 2008 WL 4415263 at *3 (citations omitted); accord Bakalar v. Vavra, 851 F.

  Supp. 2d 489, 493 (S.D.N.Y. 2011). The Court will address each of these factors with respect to

  defendant Nassau County’s motion to re-open discovery.

  IV.     DISCUSSION

         A.       The Timing of Trial

          No trial date has been set by Judge Bianco. In fact, the parties had a schedule in place for

  briefing summary judgment motions when the instant issue arose. Plaintiff does not contest this

  fact. Consequently, the first factor weighs in defendant Nassau County’s favor. See Spencer v.

  Int’l Shoppes, Inc., 06 Civ. 2637, 2011 WL 3625582, at * 2 (E.D.N.Y. Aug. 16, 2011); Thieriot,

  2010 WL 4038765, at *61; Pharmacy Inc., 2008 WL 4415263, at *4.

         B.       Whether the Motion Is Opposed

          There is no question that plaintiff vigorously opposes defendant Nassau County’s motion

  to re-open discovery. Nassau County’s counsel here attempts to limit the sphere of consideration

  to defendant Suffolk County as the repository of the documents at issue. DE 246. Specifically,

  Attorney Clarke states that “the test should be resolved in Nassau’s favor because Suffolk . . . has


         1
              Counsel for the Nassau County defendants relies upon this Court's decision in
  Thieriot in terms of the six-part test to re-open discovery. However, counsel can take no solace
  from Thieriot since the Court there denied the defendants' motion to re-open discovery to add to
  witnesses, having found that defendants had ample time during the normal course of discovery to
  locate and depose these two witnesses.

          In total, Nassau County’s counsel cites just two cases in the totality of his motion. The
  second case, Spencer v. Int’l Shoppes, Inc., 2011 WL 3625582 is distinguishable as well. There,
  plaintiff suffered a stroke in July 2011. Two weeks later, plaintiff sought to re-open discovery,
  asserting that a related state court litigation actually caused the stroke. The discovery sought
  related to the stroke and went directly to plaintiff's claim for damages. Unlike the instant case,
  this Court found that the discovery sought was not foreseeable, was directly relevant to the
  plaintiff's claim for damages, was diligently sought, and was not prejudicial to the non-movant.

                                                   5
Case 2:12-cv-00512-JFB-AKT Document 263 Filed 06/22/18 Page 6 of 20 PageID #: 4412



  not objected to the discovery demands at issue and has agreed to accept service of Nassau’s

  subpoena and has confirmed via email that Sergeant Lynch is available for deposition as

  noticed.” Id. Suffolk County’s sudden change of heart and new-found willingness to cooperate

  – contrary to its earlier posture regarding any disclosure of Nassau County’s IAU Report – is not

  the deciding factor here. There is no such limitation in the second prong of the standard set out

  in Pharmacy, Inc. and Nassau County’s counsel has provided no case law supporting this myopic

  and disingenuous view. Consequently, plaintiff’s emphatic opposition to the relief sought by the

  Nassau County defendants results in this factor favoring the plaintiff.

          C.      Prejudice to the Non-moving Party

          Defendant Nassau County’s counsel points out that the only non-moving party to claim

  prejudice is the plaintiff and “that objection is limited only to meritless concerns of delay.” Id.

  According to Attorney Clarke, “[s]ince Suffolk has not objected, has accepted service and

  confirmed attendance, relevance and discoverability are moot issues, and delay is not a concern.”

  The Court disagrees. Delay may not be a concern to Nassau County, but it is of understandable

  concern to the Plaintiff. Likewise, Suffolk County’s about-face and willingness to assist Nassau

  County at this juncture are irrelevant to the analysis of this third prong of the test for re-opening

  discovery. There is no doubt that re-opening discovery will cause plaintiff to incur costs and

  expenses associated with reviewing documents which Nassau County is requesting as well as

  preparation for and attendance at requested depositions of the Suffolk County investigators

  responsible for the IAU Report. Moreover, if defendants are permitted to conduct depositions,

  new information will likely be disclosed which the plaintiff has had no opportunity to explore

  and/or rebut. The prejudice to the Plaintiff here is not only the further postponement of this six-


                                                    6
Case 2:12-cv-00512-JFB-AKT Document 263 Filed 06/22/18 Page 7 of 20 PageID #: 4413



  year old case, but the toll on the memories of witnesses as this case lags. As a result, the Court

  finds that this factor slightly favors the plaintiff.

          D.       Diligence of Defendant Nassau County and Foreseeability of Need

            The Second Circuit has emphasized that “a finding of ‘good cause’ depends on the

  diligence of the moving party.” Parker v. Columbia Pictures Indus., 204 F.3d 326, 340 (2d Cir.

  2000). The diligence and foreseeability factors here weigh against defendant Nassau County.

  The real issue here boils down to the strategic decision Nassau County’s counsel made in 2015

  not to seek the discovery currently at issue here because doing so, in counsel’s reasoning, would

  have run contrary to the litigation position the County had taken, namely, that its own Internal

  Affairs documents were privileged and not discoverable. This was a calculated risk and decision

  which the County undertook knowingly and freely. A review of some of the chronology of this

  case is warranted in order to place into context Nassau County’s current contentions on this

  motion.

            • At the April 6, 2012 Initial Conference, the Court addressed the respective Internal
              Affairs Unit Reports as follows:

                   Plaintiff’s counsel seeks the Internal Affairs Reports prepared by the respective police
                   departments in both counties. With regard to Nassau County, Attorney Ferguson stated
                   that the police department has 18 months from the date of the underlying incident to
                   complete the report and, consequently, Nassau has four more months for completion of
                   that report. Counsel for Suffolk County will get back to me expeditiously with a response
                   as to the timeframe in which Suffolk expects to finish its report. After some discussion
                   regarding the case law addressing production of internal affairs reports, I stated to
                   counsel that this production would likely be required, even in redacted form, solely to
                   the respective parties in this case for purposes of this litigation only, and subject to a duly
                   executed Stipulation and Order of Confidentiality. Plaintiff’s counsel stated that he
                   was reserving his right to take depositions of the authors of the respective reports
                   once they are completed. Counsel for Suffolk County stated that he did not see any
                   purpose in examining the authors of the report when the report itself contains
                   statements of witnesses, etc. I advised counsel that we will see where this issue takes
                   us as the case progresses and that, once again, the parties have an obligation to confer
                   in good faith under Local Civil Rule 37.3 to try to resolve any discovery disputes before
                   seeking Court intervention.


                                                          7
Case 2:12-cv-00512-JFB-AKT Document 263 Filed 06/22/18 Page 8 of 20 PageID #: 4414




            DE 13 (emphasis added). As this Order reflects, the productions of the respective
            Internal Affairs Reports from both Counties were an issue from the very first
            appearance of the parties before the Court. It was clear from the outset that
            plaintiff’s counsel intended to depose the authors of the respective reports and at
            least one party, Suffolk County, objected. At that time, among other deadlines, the
            Court set the fact discovery cut-off at November 30, 2012. Id.; DE 14.

        •   Both IAU Reports were taken up again at the August 23, 2012 Status Conference.
            The Civil Conference Minute Order of that date reflects the discussion:

                3. With regard to the still pending Internal Affairs Reports, counsel for the Suffolk
                County defendants stated that in communicating with Suffolk County Police Department,
                he was advised that the report is still being worked on, but that it is expected to be
                completed in the short-term. Suffolk’s counsel will continue to meet and confer with
                plaintiff’s counsel regarding the disclosure of the contents of the report... With regard to
                the Internal Affairs Report of the Nassau County Police Department, I noted that the 18
                month preparation period is expiring this month. However, Attorney Ferguson stated that
                he does not know when the report will be completed but that he has been advised the
                report is being worked on. I have directed counsel for the Nassau County
                defendants and the Suffolk County defendants to discuss with plaintiffs’s counsel
                any issues they have regarding the disclosure of the reports to plaintiff’s counsel
                once they are completed, subject to a Stipulation and Order of Confidentiality. If
                the parties are unable to work out any disclosure issues, then plaintiff’s counsel may
                apply to the Court for relief. Counsel for the Suffolk County defendants did note that he
                has provided some materials which are included in the IA Report to plaintiff’s counsel
                while the report is still awaiting completion.

            DE 31 (emphasis added). Because of additional issues which had arisen in the case,
            the Court also extended fact discovery for an additional 90 days to February 28,
            2013. DE 32.

        •   In Plaintiff’s December 14, 2012 letter motion [DE 52] to compel production from
            defendant Nassau County, plaintiff challenged Nassau County’s response to
            Document Request No. 1 of plaintiff’s second request for production of documents
            and things. The Court points out that in its response, Nassau County states that its
            IAU Report was produced to all other parties on September 7, 2012.

        •   At the February 5, 2013 Status Conference, since the Suffolk County IAU Report
            still had not been served, I directed counsel for Suffolk County to speak with those
            preparing the report and report back to the Court at the earliest possible time the
            projected date for completion and service of that Report. DE 61. Based on the
            number of depositions the parties were contemplating, as well as some issues
            obtaining records from non-parties, the Court extended the fact discovery deadline
            once again, up to and including June 28, 2013. The parties were put on notice
            that this date would not be further extended. Id.


                                                    8
Case 2:12-cv-00512-JFB-AKT Document 263 Filed 06/22/18 Page 9 of 20 PageID #: 4415



        •   By letter dated February 8, 2013, counsel for the Suffolk County defendants advised
            the Court that the anticipated date for completion of the IAU Report was March 15,
            2013. DE 64.

        •   At the July 9, 2013 Status Conference, the Court notified all counsel that it had
            received an ex parte application from the Suffolk County District Attorney’s Office
            seeking to permit the Nassau County Attorney’s Office and the Suffolk County
            Attorney’s Office to disclose their respective Internal Affairs Reports encompassed
            by the Stipulation of Confidentiality to the Suffolk County District Attorney’s Office.
            Counsel for defendant DiLeonardo raised an objection and stated her intention to file
            a motion in opposition to such disclosure. DE 100.

        •   On July 11, 2013, counsel for defendant DiLeonardo filed a letter motion stating that
            the Suffolk County District Attorney's Office ex parte application was now moot
            since the Nassau County Police Department had turned over the Nassau IAU Report
            to the Suffolk County District Attorney's Office pursuant to a grand jury subpoena
            served upon the Nassau County Police Department. DE 102. DiLeonardo’s counsel
            requested an Order directing the Suffolk County District Attorney’s Office to return
            the IAU Report and to provide the names of all individuals who viewed the report
            and its contents. In addition, counsel requested that the Court issue an Order
            immediately enjoining the use of and dissemination of the Report until such time as
            the Court could rule upon the pending motion. Id.

        •   Counsel for the Suffolk County defendants filed a letter on July 16, 2013 stating that
            the Suffolk defendants were taking no position regarding the Suffolk District
            Attorney’s request that the terms of the Confidentiality Order be extended to the
            Suffolk D.A.’s Office. Counsel added that “[i]t is our understanding that the
            application by the District Attorney does not include a specific request for the actual
            production of the report. To the extent that the ex parte order can be construed to
            include such a request, the defendants wish to make clear to the Court and the
            parties that we respectfully reserve our rights to be heard and, if necessary, object
            to any such production, whether in this Honorable Court or in response to the
            service of a New York State Grand Jury subpoena.” DE 103.

        •   In a September 25, 2013 Status Report to the Court, plaintiff’s counsel stated, among
            other things, that “[e]ven though the SCPD IAB Report has not yet been completed,
            the parties have agreed to resume depositions of the remaining named Suffolk
            defendants, subject to Plaintiffs reservation of rights to conduct supplemental
            depositions limited to any new information contained in the IAB Report.” By that
            date, four of the seven named Nassau County defendants had been deposed.




                                                 9
Case 2:12-cv-00512-JFB-AKT Document 263 Filed 06/22/18 Page 10 of 20 PageID #: 4416



         •   On March 20, 2014, the Court granted yet another extension of the discovery
             deadline upon application by plaintiff’s counsel, with no objections filed by
             defendants’ counsel. The deadline was extended to May 19, 2014. DE 122

         •   On May 7, 2014, Frank Schroeder, Esq., new counsel for defendant Deputy Chief of
             Patrol John Hunter moved for an extension of the discovery deadline asserting that
             his firm had recently been brought into the case (actual appearance was entered on
             December 6, some six months prior) and noted that the other parties consented to the
             request. Attorney Schroeder also pointed out that “all parties are still awaiting
             receipt of the Suffolk County Police Department’s Internal Affairs Report. Once this
             document is released, there will likely be additional discovery and investigation
             needed.” DE 128. An extension was granted to November 1, 2014.

         •   The law firm of Leahey & Johnson, P.C., by Peter Johnson, Esq. and Christopher
             Clarke, Esq., came into the case on September 24, 2014 in place of the attorneys
             from the Office of the Nassau County Attorney. DE 150.

         •   New counsel immediately requested an extension of the discovery deadline which
             Judge Bianco granted, putting depositions over from October to December 2014 and
             extending the existing discovery deadlines by 60 days. Judge Bianco also set a
             briefing schedule for plaintiff’s motion to amend. Electronic Order of
             September 29, 2014.

         •   Plaintiff’s counsel advises on December 2, 2014 that depositions of the Suffolk
             County defendants have been completed, but the Suffolk County IAB Report has still
             not been produced.
             DE 160.

         •   On May 20, 2015, after having denied the motion by the Suffolk County District
             Attorney’s Office to quash the subpoena served by plaintiff’s counsel, the Court
             completed its in camera review and directed that the production of the designated
             documents be made within 14 days. DE 182.

         •   At the May 20, 2015 Motion Hearing/Status Conference, after being advised that the
             SCPD IAU Report still had not been turned over after years of delay, the Court
             directed that the Report was to be in the hands of the parties by July 6, 2015 at the
             latest or the Court would take further action. DE 183. A deadline of September 8,
             2015 was set for completion of all fact depositions. All counsel were directed not to
             delay any further depositions while awaiting productions of other documents.
             Counsel for the Nassau County defendants stated that his clients were opposing any
             deposition of Sgt. Distler, author of Nassau’s IAU Report, and would be filing a
             motion to quash the subpoena served. Counsel was directed to file the motion
             promptly given the schedule. The Court set September 11, 2015 for the next


                                                10
Case 2:12-cv-00512-JFB-AKT Document 263 Filed 06/22/18 Page 11 of 20 PageID #: 4417



             conference and advised that an expert discovery schedule would be set at that time,
             along with a deadline for submitting pre-motion conference requests to Judge Bianco
             for intended summary judgment motion practice. Id.

         •   The Nassau County defendants moved on June 15, 2015 to quash the subpoena for
             Sgt. Distler’s personal notes related to the IAU investigation report as well as for her
             deposition. DE 188. In the motion, Attorney Clarke noted that Nassau County had
             previously produced its IAU Report essentially containing all the information
             plaintiff needed. Counsel maintained that the Distler notes were covered by law
             enforcement privilege and therefore were immune from discovery. In addition,
             defendant’s counsel argued that plaintiff had and would be deposing some of the fact
             witnesses whom Sgt. Distler interviewed in preparing the IAU Report, thus making
             the additional discovery unnecessary and duplicative. Id.

             In opposing the motion, plaintiff’s counsel argued that Nassau’s assertion of law
             enforcement privilege was without merit since Nassau previously disclosed the IAU
             Report to all parties in the case without ever having asserted law enforcement
             privilege. Likewise some of the defendants had made it known that they intended to
             challenge the trustworthiness of Sgt. Distler’s IAU Report at trial. DE 194.

         •   On September 4, 2015, in anticipation of the September 11, 2015 status conference,
             plaintiff submitted a discovery update and also requested an extension of the
             discovery deadline based upon some unfortunate personal circumstances plaintiff’s
             counsel had experienced. DE 196. The Court granted the request for an extension
             and also postponed the conference pending the determination of the outstanding
             motions. DE 197.

         •   Two weeks later, on September 16, 2015, the Court granted plaintiff’s motion to
             compel the records of the disciplinary hearing of defendant DiLeonardo [DE 141] to
             the extent of directing Nassau County to provide the materials for an in camera
             review. DE 198. On October 27, 2015, the Court granted plaintiff’s motion to
             establish deposition dates for certain witnesses and issued those dates, designating
             the remaining depositions as “Court-ordered” and ordering that the last of the
             depositions be concluded during the week of December 7, 2015. DE 202.

         •   On December 1, 2015, Attorney Clarke filed a letter motion seeking an extension of
             the deadline to complete non-party Jillian Bienz’s deposition until mid-January 2016
             since new counsel had been retained by Ms. Bienz. DE 204. That application was
             granted by Eletronic Order on December 3, 2015.

         •   The Court issued its ruling on March 31, 2016 concerning Nassau County’s motion
             to quash with regard to Sgt. Distler’s notes and deposition, directing that the notes be
             submitted for in camera review, that the defendants advise whether they intended to
             challenge the trustworthiness of the IAU Report prepared by Sgt. Distler and that

                                                 11
Case 2:12-cv-00512-JFB-AKT Document 263 Filed 06/22/18 Page 12 of 20 PageID #: 4418



             Attorney Grandinette submit a list of intended deposition topics for Sgt. Distler’s
             deposition if the examination were permitted to go forward. DE 217.

         •   On April 10, 2016, counsel for defendant Hunter confirmed that he was reserving his
             client’s right to challenge the admissibility of the Nassau IAU Report. DE 218.
             Counsel for the Suffolk County defendants followed suit on April 11, 2016. DE 219.

         •    In response to Judge Bianco’s request for a status update on January 27, 2017,
             plaintiff’s counsel advised Judge Bianco that all depositions had been completed
             except for the continued deposition of ADA Pearl; that there were several discovery
             motions pending before the undersigned; that plaintiff had retained a toxicology
             expert and had also submitted a request for a proposed expert discovery schedule to
             the undersigned. DE 227

         •   On April 21, 2017, plaintiff’s counsel advised this Court that the attorneys for
             Nassau and Suffolk Counties had agreed to commence expert discovery on the
             limited area of the plaintiff’s toxicology expert. DE 228. Counsel requested
             approval of the proposed expert discovery schedule. The Court approved that expert
             discovery schedule on May 15, 2017. DE 229.

         •   On July 21, 2017, counsel for Nassau County advised the Court that, sadly, his father
             had passed away unexpectedly. DE 230. Based on those circumstances, counsel
             requested an extension of the expert discovery deadline, which this Court granted on
             July 24, 2017.

         •   Almost two months later, counsel for defendant Hunter asked the Court for a further
             two-week extension of the expert discovery deadline on September 11, 2017 because
             of personal issues with his expert, including the fact that the expert resides in Florida,
             does not fly, would have to be presented by videoconference and was in the throes of
             a Category 5 hurricane. DE 231. Notwithstanding plaintiff’s opposition [DE 232],
             the Court granted the motion. DE 235.

         •   On January 17, 2018, plaintiff’s counsel sought a conference with this Court and
             noted the following, among other things:

                Other than the pending applications referenced above, no additional fact or expert
                discovery remains outstanding. Accordingly, Plaintiff is requesting a final discovery
                conference, so that the parties can determine what if any affect your Honor’s rulings may
                have on an anticipated summary judgment briefing schedule. Lastly, Plaintiff, with all
                parties’ consent, will be requesting a pre-trial conference before Judge Bianco shortly
                after the filling of this application.

             DE 236. The same day, plaintiff’s counsel filed a letter request to Judge Bianco for a
             pre-motion conference, “on consent of all counsel” except defendant Hunter’s
             attorney, for purposes of making a summary judgment motion. DE 237. The request

                                                   12
Case 2:12-cv-00512-JFB-AKT Document 263 Filed 06/22/18 Page 13 of 20 PageID #: 4419



              was granted by Judge Bianco that same day. On January 18, 2018, this Court set an
              in-person conference for February 13, 2018.

          •   On February 6, 2018, this Court issued an Order, denying Nassau County’s motion to
              quash the subpoena served on Sgt. Distler, directing that Sgt. Distler’s notes, with
              certain designated exceptions be produced and that Sgt. Distler appear for a
              deposition. DE 239.

          •   Judge Bianco set a briefing schedule for summary judgment motions on February 13,
              2018. DE 240. That same day, at a motion hearing/status conference, this Court
              issued its rulings on the pending motions to compel production of the Second
              Indemnification Hearing of defendant DiLeonardo and for the records of the NCPD
              disciplinary hearing for DiLeonardo. DE 241. At that time, plaintiff’s counsel
              advised that he had been given a copy of a demand served by Nassau County’s
              counsel for the production of documents from the Suffolk County Internal Affairs
              Unit as well as deposition notices for two members of the Suffolk County Board of
              Review.

          At the outset, the Court addresses some of the wording utilized by Nassau County’s

   counsel in the motion. For example, counsel states that the Court “authorized Nassau to move to

   re-open discovery” and “authorized Nassau to file a motion to re-open discovery for the purpose

   of the limited disclosure sought from Suffolk. . . .” DE 246. The reality is that the Court did not

   “authorize” anything – it permitted Nassau to make the motion, pointing out that counsel had to

   show good cause for the failure to timely request the information now sought – effectively by

   prevailing on the six-part test to re-open discovery under existing Second Circuit case law.

          The docket entries set forth here show a number of things relevant to the Court’s

   consideration of this motion. It is clear, for example, that plaintiff originally sought the IAU

   Reports from both Nassau and Suffolk Counties in early 2012. At the April 6, 2012 Initial

   Conference, plaintiff’s counsel reserved his right to take the depositions of the authors of those

   Reports as soon as they were completed. Consequently, the parties were aware from the outset

   that plaintiff attached great significance to these Reports. Ironically, counsel for the Suffolk


                                                    13
Case 2:12-cv-00512-JFB-AKT Document 263 Filed 06/22/18 Page 14 of 20 PageID #: 4420



   County defendants objected at that time to any deposition of the author of the subject SCPD IAU

   Report – a position which has shifted most recently.

          The Nassau County IAU Report was provided to all parties on September 7, 2012. By

   contrast, the Suffolk County Police Department continued to delay completion and/or production

   of its IAU Report for more than four years, although counsel for the Suffolk defendants did

   produce some materials utilized in the Report while awaiting completion of the Report.2 In a

   September 23, 2013 Status Report to the Court, plaintiff’s counsel stated that despite the lack of

   completion of the Suffolk IAU Report, the parties agreed to resume depositions of the remaining

   Suffolk defendants, subject to a reservation of rights to conduct supplemental depositions limited

   to any new information contained in the Suffolk IAU Report.

          After appearing in the case as new counsel for defendant Deputy Chief Hunter on

   December 6, 2013, Attorney Frank Schroeder filed a letter dated May 7, 2014 requesting a fourth

   extension of the discovery deadline to get up to speed and noting that the parties still had not

   received the Suffolk County IAU Report. Schroeder noted that there would likely be a need for

   additional discovery once the Report was available. Four months later, in September 2014,

   Attorney Clarke came into the case as substituted counsel for the Nassau County defendants and

   requested a fifth extension of the discovery deadline, which Judge Bianco granted for 60 days.

          On December 23, 2014, plaintiff’s counsel informed the Court that the depositions of all

   Suffolk County defendants had been completed, but that the Suffolk IAU Report had still not

   been provided. As a result, the Court granted a sixth extension of the discovery deadline. Then,


          2
              In a February 8, 2013 letter to the Court, counsel for the Suffolk County defendants
   advised that the anticipated date for completion of Suffolk’s IAU Report was March 15, 2013.
   Obviously, that did not occur and the Report was delayed for several additional years.

                                                    14
Case 2:12-cv-00512-JFB-AKT Document 263 Filed 06/22/18 Page 15 of 20 PageID #: 4421



   after being advised at a motion hearing on May 20, 2015 that the Suffolk IAU Report had still

   not been provided to the parties – more than three years after this case had been commenced and

   more than two years after the County represented that the Report would be issued by March 15,

   2013 -- the Court directed that the Report was to be in the hands of the parties by July 6, 2015 or

   the Court would take further action to address the failure to comply. The Court granted a seventh

   extension of discovery and set a deadline of September 8, 2015 to complete all fact depositions.

   That deadline was extended for the eighth time to December 11, 2015 due to the unfortunate

   personal circumstances of plaintiff’s counsel.

          In his April 21, 2017 letter to the Court, plaintiff’s counsel advised that the attorneys for

   both Nassau and Suffolk Counties had agreed to an expert discovery schedule on the limited

   issue of plaintiff’s toxicology expert. The Court approved the expert discovery schedule which

   concluded expert discovery by September 14, 2017. On July 21, 2017, counsel for Nassau

   County requested an extension of the deadline for expert rebuttal reports and depositions based

   on counsel’s bereavement circumstances. The Court granted the request, as it did the later

   September 11, 2017 request for an extension sought by counsel for defendant Hunter. The Court

   set the extended deadline for expert discovery at October 27, 2017. On January 17, 2018,

   plaintiff’s counsel submitted a letter request for a pre-motion conference to Judge Bianco for

   purposes of making a motion for summary judgment. Judge Bianco set the briefing schedule in

   place on February 13, 2018.

          Given the totality of these circumstances, the Court finds that the Nassau County

   defendants were not diligent in pursuing the discovery they now seek. Attorney Clarke does not

   contest the fact that all of the defendants had copies of the audio recordings of the Suffolk IAU


                                                    15
Case 2:12-cv-00512-JFB-AKT Document 263 Filed 06/22/18 Page 16 of 20 PageID #: 4422



   interviews before he even came into the case in 2014. Thus, all of the parties knew to a large

   extent the contents of witness statements and what, if anything, would be necessary for the

   defense of the case as to those statements. Consequently, the Nassau County defendants had

   ample opportunity to pursue this particular evidence for several years during the regular fact

   discovery period, both through their prior counsel and their current counsel.

          Although Nassau County’s counsel insists throughout his motion that “discovery is not

   closed,” repeating that mantra does not make it so. The fact discovery deadline had been

   extended more than nine times as detailed above and the posture of the case at the time of the

   February 13, 2018 conference belies defendants’ argument. Expert discovery had been

   completed and the parties had been given a schedule by Judge Bianco for briefing summary

   judgment motions.

          Attorney Clarke’s repeated attempts to minimize the significance and impact of the

   choices he made on behalf of his clients on these issues in 2015 and thereafter is unavailing. For

   example, arguing that the discovery demand and deposition subpoena he served on Suffolk

   County in February 2018 simply “mirror plaintiff’s motion to quash filed on June 15, 2015" [DE

   246] misses the point – plaintiff’s motion was filed timely in 2015. Nassau’s counsel knew well

   this was an issue in 2015 and logic dictated that there was a 50-50 chance that the motion to

   compel the Distler notes and deposition would be granted. Nassau’s counsel made the strategic

   decision to assert arguments that the materials subpoenaed from Nassau County at that time were

   privileged and not subject to disclosure. The SCPD IAU Report was not hidden or unknown to

   the Nassau County defendants or any other party for that matter. The relevance of the Report and

   the potential need for the Report were certainly foreseeable. Counsel for Nassau County had


                                                   16
Case 2:12-cv-00512-JFB-AKT Document 263 Filed 06/22/18 Page 17 of 20 PageID #: 4423



   every opportunity to argue in the alternative on his motion to quash the Distler notes and

   deposition testimony, to move to reserve his clients’ rights and options if the Court ultimately

   denied the motion, or to seek a stay until the motion was decided. He did none of those things.

   Litigation strategy is often based on a calculated risk. Counsel undertook that risk here. That

   decision has consequences.

          With expert discovery completed and a briefing schedule in hand for summary judgment

   motion practice, the contention of Nassau County’s counsel that fact discovery was still ongoing

   lacks candor. Defendants’ counsel is a seasoned litigator and knew exactly what the case status

   was on June 15, 2015, let alone February 13, 2018. Moreover, the Court made clear that with the

   exception of the Court’s rulings on certain outstanding discovery motions, fact discovery had

   long been closed.3 The demand by Nassau County’s counsel was not one of those exceptions.

   Creating a unique interpretation of the fact discovery deadline and attempting to place the onus

   on the Court rather than take responsibility for the strategic decision counsel made some two

   years earlier does not excuse counsel’s failure to deal with this issue in a timely manner.

          The fifth factor assesses the foreseeability of the need for additional discovery in light of

   the time allowed for discovery. See Pharmacy, Inc., 2008 WL 4415263 at *3. A reasonable

   litigator could have and should have foreseen the need for the discovery now sought in the event

   the Court denied the motion to quash the subpoena for Sgt. Distler’s notes and deposition. As




          3
              It is significant to note that less than a month before, on January 17, 2018, plaintiff’s
   counsel submitted a letter to the Court stating that “no other fact or expert discovery remains
   pending.” DE 235. On that basis, counsel asked for a final conference. No other party filed a
   response to DE 235, including any objection, opposition, or refutation of the accuracy of that
   statement.

                                                    17
Case 2:12-cv-00512-JFB-AKT Document 263 Filed 06/22/18 Page 18 of 20 PageID #: 4424



   noted previously, plaintiff’s counsel made clear in the very first discovery conference with the

   Court the significance of the IAU Reports from both Nassau and Suffolk Counties.

          The Court further points out that defendants’ counsel made no attempt to obtain any

   permission or authorization from the Court before serving the February 2018 demands and

   deposition notices now at issue. Instead, counsel made an end-run, presumably in anticipation

   (or hope) that plaintiff’s counsel would not balk at the late service out of time. Counsel’s

   persistence that “fact discovery is on-going in this matter” [DE 246] is crucial to his justification

   for these actions. The reality, however, is that there is no justification. The circumstances in

   which counsel finds himself are of his own making. Distilled to their essence, the arguments

   here seek to absolve the Nassau County defendants from accountability for the litigation strategy

   they elected in 2015. Having considered these facts, the Court finds that the Nassau County

   defendants were not diligent in pursuing this discovery despite the foreseeability that the

   discovery could lead to relevant evidence. Consequently, this factor favors the plaintiff.

          E.      Likelihood of Relevant Evidence

          Nassau County’s counsel maintains that “the two separate, independent investigations of

   the police officers conducted by the separate law enforcement agencies is undeniably relevant....”

   DE 246. However, counsel never states with any specificity why the SCPD investigation is

   relevant, except to refer broadly to “plaintiff’s multiple claims of conspiracy between various

   defendants....” Id. Instead, Nassau’s counsel relies on the fact that the Court found relevant the

   notes and potential deposition testimony of Sgt. Distler and believes the Court should draw the

   same conclusion regarding the SCPD investigator’s information, even though the Court has never

   seen it. The Court is not in a position to do so without more information, although the Court


                                                    18
Case 2:12-cv-00512-JFB-AKT Document 263 Filed 06/22/18 Page 19 of 20 PageID #: 4425



   does not doubt that some of the information may be pertinent. For these reasons, this factor is

   neutral as to both sides.

           F.     Balancing the Factors

           The Court does not condone the Nassau County defendants’ actions here with regard to

   the lack of diligence in seeking the discovery which is the subject of this motion. However, the

   Court also finds that under Second Circuit case law, the circumstances of this case do not warrant

   the “drastic remedy” of preclusion of this discovery. See, e.g., Torres v. Dematteo Salvage Co.,

   Inc., CV 14-774, 2016 WL 845326, at *6 (E.D.N.Y. Mar. 2, 2016); Sci. Components Corp., No.

   03 CV 1851, 2008 WL 4911440, at *4 (E.D.N.Y. Nov. 13, 2008); see generally Valentin v. Cty.

   of Suffolk, 342 F. App’x 661, 662 (2d Cir. 2009) (summary order) (“The district court recognized

   that defendants’ late disclosure of their expert violated its expert discovery deadline. But rather

   than preclude the testimony, the court opted to impose the lesser sanction of requiring defendants

   to produce their expert for a deposition at Valentin’s request. The court’s decision to impose a

   less drastic sanction than preclusion was within its discretion.”). Defendants’ motion to reopen

   discovery is therefore granted.

           Having considered the relevant factors, the Court reluctantly finds that discovery should

   be re-opened for a limited purpose. Notwithstanding the delinquency of the Nassau County

   defendants, as unsatisfactory as it is, a trial date has not been set and the prejudice to the plaintiff

   can be offset to a degree here. Moreover, “such prejudice [does] not outweigh the other factors.”

   Sci. Components Corp., 2008 WL 4911440, at *4. However, Nassau County is not to be

   rewarded for its dilatory conduct either. Counsel for Suffolk County shall respond to Nassau

   County’s document request and produce responsive documents (that are not objected to) to all


                                                      19
Case 2:12-cv-00512-JFB-AKT Document 263 Filed 06/22/18 Page 20 of 20 PageID #: 4426



   parties by July 5, 2018. Nassau County’s counsel will be permitted to depose one and only one

   investigator. That deposition must be completed no later than July 24, 2018. All counsel are on

   notice that these dates will not be extended. The cost of providing a transcript of this deposition

   to all the parties shall be borne by the Nassau County defendants.

          Once the investigator’s deposition has been concluded, to the extent plaintiff’s counsel

   believes in good faith that plaintiff must explore further discovery based on the information

   obtained -- and if counsel can make a good cause showing for doing so – the Court will permit

   plaintiff’s counsel to file a letter motion expeditiously (no later than 10 days after the

   investigator’s deposition) addressing the issue.

   V.     CONCLUSION

          For the foregoing reasons, the Nassau County defendants’ motion to re-open discovery

   [DE 246] to the limited extent set forth above is GRANTED. Counsel for Suffolk County shall

   respond to Nassau County’s document request and produce responsive documents (that are not

   objected to) to all parties by July 5, 2018. Nassau County’s counsel will be permitted to depose

   one and only one investigator. That deposition must be completed no later than July 24, 2018.



                                                           SO ORDERED:

   Dated: Central Islip, New York
          June 22, 2018


                                                           /s/ A. Kathleen Tomlinson
                                                           A. KATHLEEN TOMLINSON
                                                           United States Magistrate Judge




                                                      20
